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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 05-4003-02-CR-C-NKL

BRYAN ANTHONY DEAN

                                                                       USM Number: 54885-060

                                                                       Scott Hamblin, CJA
                                                                       312 E. Capital Ave.
                                                                       Jefferson City, MO 65102
___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Counts 2 & 14 of the Indictment on September 7, 2005. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense (s):


                                                                                             Date Offense             Count
       Title & Section                             Nature of Offense                          Concluded             Num ber(s)

 18 U.S.C. 471 and 2            Making Counterfeit Obligations                              October 9, 2004              2

 18 U.S.C. 492 & 28             Crim inal Forfeiture                                        October 9, 2004              14
 U.S.C. 2461(c)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Count(s) 1, 5, 7, 10-13 are dismissed on the motion of the United States.

IT IS ORDERED that the defendant sh all notify the U nite d State s attorney for this district with in 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence:
                                                                       Decem ber 27, 2005




                                                                        __________________/s Nanette K. Laughrey________
                                                                                            NAN ETT E LAUG HRE Y
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                                         January 5, 2006




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                                                    IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of TIME SERVED .




                                                        RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                             __________________________________
                                                                                   UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                     Deputy U.S. Marshal




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                                                   SUPERVISED RELEASE

         Upon release from imprisonm ent, the defendan t shall be on supervised release for a term 3 years on Count 2 of the
Indictm ent.

        The defendant shall report to the probation office in the district to which the defenda nt is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not comm it another federal, state or local crime.

          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substan ce. The defendant sh all subm it to o ne dru g test w ithin 15 days of release from imprisonment and
at leas t two periodic drug tests thereafter, as determ ined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         If this judgment imposes a fine or restitution, it is a condition of supervision that the defenda nt pay in accorda nce with
the S che dule of Paym ents she et of this judg m ent.

        The defendant must com ply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendan t shall not leave the judicial district without the perm ission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and com plete w ritten re port within the
         first five days of each month;

3.       The defendant sh all answe r tru thfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least te n (10) days prior to any change in residence o r em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant sh all not ass ociate with any persons engaged in crim inal activity and shall not asso ciate with any person
         convicted of a felony, unless granted perm ission to do so by the probation officer;

10.      Th e de fendan t shall perm it a pro bation officer to visit him or h er at any tim e at hom e or els ew here and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant sh all notify the probation officer within seventy-two (72) hours of being arrested or q uestio ned by a
         law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the perm ission of the cou rt;

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13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifica tions a nd to con firm the defenda nt’s co m plianc e with s uch notifica tion req uirem ent.




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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         Th e de fendan t shall also co m ply with the following ad ditional cond itions of sup ervised re lease:

1.       The defe nda nt shall succes sfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the P roba tion O ffice.


2.       Th e de fendan t shall not con sum e or p oss ess alcoh olic bevera ges or be er, including 3.2 percent beer, a t any tim e.


3.       Th e de fendan t shall satisfy all warrants and/or p end ing ch arge s within the firs t 90 days of sup ervised re lease.


4.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable time and in a reasonable m anner, base d upon rea sonab le suspicion of contraband or evidence of a
         violation of a condition of release; failure to sub m it to a search m ay be grounds for revocation; the defendant sha ll warn
         any oth er residents that the prem ises m ay be s ubje ct to searc hes purs uan t to this cond ition.


5.       The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the
         Probation Office.


6.       The defendant shall provide the Probation Officer access to any requested financial information.




                                     ACKNOWLEDGMENT OF CONDITIONS

         I have read or have read the conditions of supervision set forth in this judgment and I fully understan d them . I have
bee n pro vided a copy of the m .

         I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) exten d the term of su perv ision, and/o r (3) m odify the con ditions of su perv ision.

_______________________________________                    ____________________
Defendant                                                  Date

________________________________________                   ____________________
United States Probation Officer                             Date




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                                            CRIMINAL MONETARY PENALTIES


       The defendant must pay the tota l crim inal m oneta ry pe nalties under the schedule of p aym ents s et forth in the Sc hedule
of Payments.


            Total Assessment                                   Total Fine                              Total Restitution

                  $100.00                                          $                                        $610.00



         The defendant shall mak e restitution (including comm unity restitution) to the following payees in the amount listed
below.

        If the defendant makes a partial paym ent, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment colum n below. H ow ever, pursuant to 18 U.S.C . § 3664(i), all
non federal victims m ust be pa id in full prior to the U nited S tates rece iving pa ym ent.

         You are hereby ordered to begin payment imm ediately and continue to make payments to the best of your ab ility until
this obligation is satisfied. W hile in custody you are dire cte d to participate in the B urea u of P risons Financial Resp ons ibility
Program, if eligible, and upon your release from custody you shall adhere to a payment schedule as determ ined by the
Probation Office.



                                                                                                                Priority or
         Name of Payee                        Total Loss                 Restitution Ordered                    Percentage

 Diamond Shamrock                                  $50.00               $Am ount of Restitution
 324 S. Highway 5
 Cam denton, MO 65020

 Mr. David W estbrook                              $60.00               $Am ount of Restitution
 c/o Scotty’s Drive In
 197 Byron Circle
 Cam denton, MO 65020

 Dollar General Store                              $20.00               $Am ount of Restitution
 P.O. Box 106
 Cam denton, MO 65020

 Taco Bell                                         $40.00               $Am ount of Restitution
 423 E. Highway 54
 Cam denton, MO 65020

 Sonic Drive Inn                                   $20.00               $Am ount of Restitution
 P.O. Box 701
 Cam denton, MO 65020

 Casey’s General Store                             $40.00               $Am ount of Restitution
 P.O. Box 3001
 Ankeny, IA 50021
 Attn: Loss Prevention

 Signal Gas Station                                $20.00               $Am ount of Restitution
 c/o Sc rive ner O il
 2415 S. Campbell, Ste. 5
 Springfield, MO 65807


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 McDonalds                                         $20.00                      $Am ount of Restitution
 272 E. Highway 54
 Cam denton, MO 65020

 Discount Cigarette W orld                         $160.00                     $Am ount of Restitution
 405 Highway 5 North
 Cam denton, MO 65020

 McDonalds                                         $10.00                      $Am ount of Restitution
 6033 Highway 54
 Osage Beach, MO 65065

 Gull-A bles B ar and G rill                       $50.00                      $Am ount of Restitution
 P.O. Box 1514
 Cam denton, MO 65020

 W al-M art                                        $40.00                      $Am ount of Restitution
 1089 E. Highway 54
 Cam denton, MO 65020

 Phillips MPC #94                                  $40.00                      $Am ount of Restitution
 126 Providence Road
 South
 Columbia, MO 65202

 Bullseye                                           $20.00                     $Am ount of Restitution
 6385 Highway 54
 Osage Beach, MO 65065

 Golden Que Bar & Grill                             $20.00                     $Am ount of Restitution
 (Snook er Johns )
 747 N. Highway 5
 Cam denton, MO 65020

         The defendant shall pay interest on any fine or res titution of m ore than $2,50 0, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Sched ule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

          Th e Court h as d eterm ined that the defe nda nt does n ot have the ability to pay intere st, and it is ordered that:

                    The interest requirement is waived for the restitution.

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         F.       Special instructions regarding the payment of criminal monetary penalties:

         $10 0.00 Spe cial As ses sm ent is d ue im m ediately.

         Restitution of $6 10.0 0 is im pos ed. A lum p sum paym ent of the full a m ount is ord ered due im m ediate ly. If unable to
         pay the full amount imm ediately, the defendant sh all m ak e paym ents o f at least 1 0 percent of ea rnings while
         incarcerated and monthly payments of $100.00 or 10 percent of gross income, whichever is greater, while on
         sup ervision.

         No further payment shall be required after the sum of the amounts paid by the following defendants h as fully
         compensated the victims: Ad rian D . Mu ndy, Jr., Case No. 05-4003-01-CR-C-NKL, and Todd Manning Sandlin, Case
         No. 05-4003-02-CR-C-NKL.

         W hile res titution is still owed, the defendant shall notify the United States Attorney of any change of residence within
         30 days and notify the Court and U nite d State s A ttorney when there is a m ate rial change in the defendant’s financial
         condition.

Unless the court has exp ressly ordered otherwise, if this judgm ent impo ses im prisonment, paym ent of criminal m onetary
penalties is due during imprisonm en t. All c rim inal monetary penalties, except those payments m ade through the Federal
Bureau of Prisons’ Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




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